                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )        No. 3:11-00012
                                            )        Judge Sharp
DEMETRIUS DUNCAN [14]                       )
ALTO PARNELL [22] and                       )
CHRIS YOUNG [27]                            )

                                           ORDER

       For the reasons set forth in the accompanying Memorandum, the Court rules as follows:

       (1) The “Motion for Judgment of Aquittal and/or a New Trial” filed by Defendant Chris

Young (Docket No. 1795) is hereby DENIED;

       (2) The “Motion for Judgment of Acquittal Notwithstanding the Verdict, and, in the

Alternative, Motion for New Trial” filed by Defendant Demetrius Duncan (Docket No. 1806) is

hereby DENIED; and

       (3) The “Renewed Motion for Judgment of Acquittal and, in the Alternative, Motion for

New Trial” filed by Defendant Alto Parnell (Docket No. 1935) is hereby DENIED.

       By separate Order, the Court will set a sentencing date for each Defendant.

       It is SO ORDERED.


                                                     _____________________________
                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




Case 3:11-cr-00012      Document 2004           Filed 02/20/14   Page 1 of 1 PageID #: 10716
